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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
WAYCROSS DIVISION

CRISTHIAN ZUNIGA HERNANDEZ,

LUIS ALFONSO PALMILLAS LOPEZ, and
RAMON RODRIGUEZ MENDEZ,

on behalf of themselves and all those similarly
situated,

Representative Plaintiffs,
V. Civil No. 5:23-CV-00023

MARIA LETICIA PATRICIO,

ENRIQUE DUQUE TOVAR

JOSE CARMEN DUQUE TOVAR, and
MBR FARMS, INC., a Georgia corporation,

Defendants.

PLAINTIFFS’ MOTION FOR EXTENSION OF DISCLOSURE DEADLINE
Defendant Enrique Duque Tovar (“Duque”) hereby moves for an extension of the deadline
set by the Court in its Order dated October 24, 2024 [Doc. 101], which requires that, on or before

November 21, 2024 (the “Disclosure Deadline”), Duque produce a list of H-2A visa holders whom

Defendant employed from 2020 to the present, including names, addresses, telephone numbers,
dates of employment, WhatsApp contact information, personal email addresses, and any other
available contact information (the “Information”). In support of this Motion, Duque shows the
Court as follows:

1. Pursuant to an Order dated August 13, 2024 [Doc. 71], this Court ordered Duque
to produce the Information to Plaintiffs on or before September 3, 2024.

2 On August 26, 2024, prior to the production deadline, Duque moved this Court for

a stay of said deadline on the grounds that a protective order in Duque’s related criminal case,
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United States v. Patricio, No. 5:21-cr-00009-LGW-BWC, United States District Court, Southern
District of Georgia (the “Criminal Case”), prohibited him from accessing and disclosing the
Information in the context of this civil case.

3, On October 24, 2024, this Court entered an Order [Doc. 101] denying Duque’s
request for a stay; however, in doing so, the Court granted Duque additional time to comply with
the Court’s order, making November 21, 2024, the new deadline for production of the Information.
In issuing its Order, the Court directed Duque to move for relief from the protective order in the
Criminal Case if he deemed it necessary in order to comply with his obligations in this civil matter.

4. Thereafter, Duque’s undersigned civil counsel contacted and coordinated with
Duque’s criminal defense counsel in order to seek the necessary relief from the Protective Order
in the Criminal Case. On November 6, 2024, Duque’s criminal defense counsel, Daniel O’Connor
filed a Motion to Modify Protective Order [Doc. 1178 in the Criminal Case], which motion is
currently pending.

5. On November 13, 2024, the United States of America filed its response [Doc. 1183
in the Criminal Case]to the Motion to Modify Protective Order. While the United States’ response
contains certain objections to the Motion to Modify Protective Order, it specifically states that the
United States “has no objection to Defendant using his records that were seized from his residence
to create and disclose a list of all persons he employed as H-2A workers as required by this Court
in the related civil action.” That statement, however, is subject to a request that “the parties in the
related civil action should be subjected to a similar protective order to protect the workers’
identities and personal identifying information.”

6. As of the date hereof, the Court in the Criminal Case has not yet entered an Order

on the Motion to Modify Protective Order. Consequently, Duque’s undersigned counsel has not
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yet been granted access to the documents needed in order to compile the Information for
compliance with the Court’s Order. The undersigned counsel anticipates that, upon receipt of said
documentation, he will need some time to review it, confer with his client about its contents, and
organize and compile the Information for disclosure to Plaintiffs. Consequently, additional time
for compliance with the Court’s order is being requested.
7. Rather than specifying a date certain, Duque respectfully requests that he be given
a period of 14 days following occurrence of the following events in which to produce the
Information to Plaintiffs:
a. the entry of an order in the Criminal Case modifying the Protective Order, to
the extent such order provides the necessary relief from or exceptions to the
Protective Order; and
b. the entry of a protective order in this matter, to the extent that such an order is
required by the Court’s order in the Criminal Case.
Respectfully submitted this 15"" day of November, 2024.
ELLIOTT BLACKBURN, PC
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Georgi Bar No. 159080
3016 North Patterson Street
aldosta, Georgia 31602
(229) 242-3333

jmiller@elliottblackburn.com
Attorney for Enrique Duque Tovar

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the date hereof, a true and correct copy of the
foregoing Motion to Extend Deadline was served on the following counsel of record via the Court’s
ECF system and by electronic mail:

Charlie Y. Wang
cwang(@vedderprice.com

Daniel Werner
dan(@decaturlegal.com

Anand Ramana
aramana(@vedderprice.com

Dana Mehlman
dmehlman@vedderprice.com

Allison Czerniak
aczerniak(@vedderprice.com

Mark A. Gilbert
Mark. gilbert(@colemantalley.com

Kayla H. Barnes
Kayla.barnes@colemantalley.com

This 15" day of November, 2024.

/s/ James R. Miller
James R. Miller
Georgia Bar No. 159080

